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                Exhibit H
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·1· · · · · · · · UNITED STATES DISTRICT COURT
·2· · · · · · · · EASTERN DISTRICT OF MICHIGAN
·3· · · · · · · · · · ·SOUTHERN DIVISION
·4
·5· ·DANIEL REIFF,· · · · · · Case No. 23-cv-10513-LJM-JJCG
·6· · · · · · · · · · · · · · Hon. Laurie J. Michelson
·7· ·Plaintiffs,
·8
·9· ·vs.
10
11· ·OFFICER BROC SETTY, in his individual
12· ·capacity and CLINTON TOWNSHIP,
13
14· ·Defendants.
15
16
17· · · · · · · · ·Ex. H - Officer Setty BWC
18
19· · · · · · · · · · · ·*CONFIDENTIAL*
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  Case 2:23-cv-10513-LJM-KGA ECF No. 46-9, PageID.2223 Filed 09/13/24 Page 3 of 17

   DANIEL REIFF vs OFFICER BROC SETTY                        Confidential, Job 33244
   H, EXHIBIT                                                                      2


·1· · · · DISPATCH:· There an update?
·2· · · · OFFICER:· No. I'm on the north side of
·3· ·[inaudible].
·4· · · · DISPATCH:· Okay.
·5· · · · OFFICER:· Dispatch [inaudible] that way. We have
·6· ·a vehicle issue.
·7· · · · DISPATCH:· Okay.
·8· · · · OFFICER:· Crossover [inaudible] 1945 [inaudible].
·9· · · · OFFICER 2:· [Inaudible] dispatch [inaudible].
10· · · · DISPATCH:· Okay.
11· · · · OFFICER 3:· Dispatch has been logged.
12· · · · OFFICER 2:· [Inaudible].
13· · · · DISPATCH:· Okay.
14· · · · FEMALE:· A guy in a blue hoodie, just hopped my
15· ·fence and into that fence.
16· · · · OFFICER 2:· Okay. He's gone that way?
17· · · · FEMALE:· Yeah.
18· · · · OFFICER 2:· Okay. Same side going northbound from
19· ·Ingleside.
20· · · · OFFICER 3:· [Inaudible].
21· · · · OFFICER 2:· Uh, to the fence. Northbound from
22· ·Ingleside to Wendell somewhere. Hey, Mark. I'm going
23· ·to swing around.
24· · · · OFFICER 3:· Yeah. [Inaudible].
25· · · · DISPATCH:· Dispatch [inaudible].


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   DANIEL REIFF vs OFFICER BROC SETTY                        Confidential, Job 33244
   H, EXHIBIT                                                                      3


·1· · · · OFFICER 3:· Dispatch has been updated.
·2· · · · OFFICER 2:· Anyone responding? Start going
·3· ·further north.
·4· · · · OFFICER 4:· [Inaudible].
·5· · · · OFFICER 2:· Come here. Come here.
·6· · · · OFFICER 5:· We have a white male, black
·7· ·[inaudible].
·8· · · · OFFICER 2:· I'm going to tase you. I'm going to
·9· ·tase you, dude. Yeah. Baby. Come here.
10· · · · MALE:· All right. I'm done.
11· · · · OFFICER 2:· There you go. Turn around now.
12· · · · MALE:· I'm done.
13· · · · OFFICER 2:· Turn around.
14· · · · MALE:· I'm done.
15· · · · OFFICER 2:· Get on your fucking stomach now. Get
16· ·on your stomach, or I'm going to punch you. Get on
17· ·your stomach now. Dude, get on your fucking stomach.
18· ·Get on your stomach.
19· · · · MALE:· [Inaudible] the drugs.
20· · · · OFFICER 2:· Get on your stomach now.
21· · · · MALE:· No.
22· · · · OFFICER 2:· Get on your fucking stomach now. What
23· ·the fuck did I say?
24· · · · MALE:· [Inaudible].
25· · · · OFFICER 3:· [Inaudible] hands cuff.


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   DANIEL REIFF vs OFFICER BROC SETTY                        Confidential, Job 33244
   H, EXHIBIT                                                                      4


·1· · · · OFFICER 2:· Put your hands behind your back.
·2· · · · MALE:· Here.
·3· · · · OFFICER 2:· Give me the cuffs.
·4· · · · MALE:· Please help me up. Please, God, help me
·5· ·up. Please. Please, I can't breathe.
·6· · · · OFFICER 2:· Relax.
·7· · · · MALE:· Cuff me, please.
·8· · · · OFFICER 2:· Give me your hands.
·9· · · · MALE:· I can't breathe, please. I have anxiety.
10· · · · OFFICER 2:· 21980. [Inaudible]. All right. Just
11· ·relax.
12· · · · OFFICER 3:· Three grams of heroin.
13· · · · MALE:· Yes. I need an ambulance, please.
14· · · · OFFICER 3:· Well then, you know what? Chill out.
15· · · · MALE:· Okay. Oh God. Oh my God.
16· · · · OFFICER 3:· Well, you shouldn't have eaten
17· ·heroin.
18· · · · MALE:· I didn't know what to do.
19· · · · OFFICER 3:· How about you stop and confess up to
20· ·it. Now you've got a string of [Inaudible] charges on.
21· ·You got resist and obstruct. Jesus Christ.
22· · · · OFFICER 1:· Why does it matter? You guys okay?
23· · · · OFFICER 2:· Yeah. I'm fine.
24· · · · OFFICER 3:· Yeah. Andrew.
25· · · · OFFICER 1:· You all right?


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   DANIEL REIFF vs OFFICER BROC SETTY                        Confidential, Job 33244
   H, EXHIBIT                                                                      5


·1· · · · OFFICER 3:· Yeah.
·2· · · · OFFICER 1:· What's your deal, man?
·3· · · · OFFICER 2:· Took some heroin, he said.
·4· · · · OFFICER 1:· Did -- did you eat it?
·5· · · · OFFICER 3:· Answer him.
·6· · · · MALE:· Yes. I said yes. [Inaudible].
·7· · · · DISPATCH:· [Inaudible].
·8· · · · MALE:· What?
·9· · · · OFFICER 1:· Swallowed heroin?
10· · · · OFFICER 2:· Yeah. He said he, uh -- he said he,
11· ·uh, swallowed some heroin. Swallowed some heroin.
12· ·There’s an injury on his eye too.
13· · · · MALE:· Three grams.
14· · · · DISPATCH:· Okay.
15· · · · MALE:· You're not going to -- please don't let me
16· ·die.
17· · · · OFFICER 2:· You're good. Just relax, dude.
18· · · · MALE:· No. Please don't let me die. I'm trying
19· ·[inaudible].
20· · · · OFFICER 1:· Where -- where did the green and gray
21· ·jacket go?
22· · · · OFFICER 2:· He -- he ditched it.
23· · · · OFFICER 1:· Oh, he did? Okay.
24· · · · OFFICER 3:· [Inaudible] number two.
25· · · · OFFICER 2:· He's over by the -- by the house


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   DANIEL REIFF vs OFFICER BROC SETTY                        Confidential, Job 33244
   H, EXHIBIT                                                                      6


·1· ·still.
·2· · · · OFFICER 3:· [Inaudible] over there at all?
·3· · · · OFFICER 2:· No. [Inaudible] like was there.
·4· ·Thanks.
·5· · · · OFFICER 1:· Thank you. That'd be a long way.
·6· · · · OFFICER 4:· Well, we're good here.
·7· · · · OFFICER 3:· Pretty good.
·8· · · · OFFICER 4:· You good? You need anything right
·9· ·now?
10· · · · OFFICER 2:· No. I'm good for now.
11· · · · OFFICER 3:· 76, dispatch. You got medics are
12· ·coming right?
13· · · · OFFICER 1:· Are you -- you're cut?
14· · · · DISPATCH:· Yes. They are on their way.
15· · · · OFFICER 1:· [Inaudible] throwing it out your hand
16· ·didn't made sense? Just putting it in your mouth and
17· ·swallow that made sense?
18· · · · OFFICER 2:· What's your name, man?
19· · · · MALE:· Uh.
20· · · · OFFICER 2:· What's your name?
21· · · · MALE:· James.
22· · · · OFFICER 2:· What? What is it?
23· · · · MALE:· James.
24· · · · OFFICER 2:· Your ID on you?
25· · · · OFFICER 3:· Okay.


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   DANIEL REIFF vs OFFICER BROC SETTY                        Confidential, Job 33244
   H, EXHIBIT                                                                      7


·1· · · · OFFICER 2:· Huh?
·2· · · · OFFICER 3:· James, what's your last name? Come
·3· ·on.
·4· · · · MALE:· James [inaudible].
·5· · · · OFFICER 3:· How do you spell that?
·6· · · · OFFICER 1:· What did he want -- something at
·7· ·Burwood in South [Langland]?
·8· · · · OFFICER 2:· Huh?
·9· · · · OFFICER 1:· What did he want somebody at Burwood
10· ·in South Langland?
11· · · · OFFICER 2:· Yeah. [Inaudible] was over there.
12· ·There's another guy at that address I called it out.
13· · · · OFFICER 1:· What's your -- what's your last name?
14· · · · OFFICER 5:· The person that called the cops,
15· ·where do they live?
16· · · · OFFICER 1:· How old are you?
17· · · · DISPATCH:· [Inaudible] log here and see if we can
18· ·find the address.
19· · · · OFFICER 1:· James, how old are you?
20· · · · OFFICER 3:· Come on, how old are you?
21· · · · MALE:· [Inaudible].
22· · · · OFFICER 3:· What?
23· · · · MALE:· What?
24· · · · OFFICER 3:· How old are you?
25· · · · OFFICER 2:· We are trying to figure out who you


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   DANIEL REIFF vs OFFICER BROC SETTY                        Confidential, Job 33244
   H, EXHIBIT                                                                      8


·1· ·are man?
·2· · · · OFFICER 3:· What is your name?
·3· · · · MALE:· I said my name is James.
·4· · · · OFFICER 3:· Okay. James. Tell me, James, you are
·5· ·on a roll, what's your last name?
·6· · · · MALE:· [Inaudible].
·7· · · · OFFICER 3:· Holmes?
·8· · · · OFFICER 4:· Thank you dispatch. [Inaudible].
·9· · · · OFFICER 3:· What yard [inaudible] in?
10· · · · OFFICER 2:· Huh?
11· · · · OFFICER 3:· What yard was he in?
12· · · · OFFICER 4:· There was another male with him. Not
13· ·sure where he went.
14· · · · OFFICER 5:· Okay. [Inaudible].
15· · · · OFFICER 3:· You got all your equipment?
16· · · · OFFICER 2:· Yeah.
17· · · · OFFICER 4:· Who's this? Can I help you?
18· · · · FEMALE:· I'm sorry. [Inaudible] this is my
19· ·parents' house.
20· · · · OFFICER 2:· I'm sorry.
21· · · · FEMALE:· This is my parents' house.
22· · · · OFFICER 2:· Okay.
23· · · · FEMALE:· Is my mom okay?
24· · · · OFFICER 2:· Yeah. No one -- no one here's
25· ·involved, it's just someone who ran through the yard


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    DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
    H, EXHIBIT                                                                     9


·1· ·that's it. Here he is. You're good.
·2· · · · FEMALE:· Oh, thank God. Oh, I saw my moms' car.
·3· · · · OFFICER 2:· No. No, you're good. Is this r? This
·4· ·is r, right?
·5· · · · OFFICER 3:· R.
·6· · · · OFFICER 2:· Detective Baker, that address, I
·7· ·called out before he took off running and that's where
·8· ·the guy was but next to a truck.
·9· · · · OFFICER 3:· Did you see two of them or just the
10· ·one?
11· · · · OFFICER 2:· Just one.
12· · · · OFFICER 4:· [Inaudible] in the truck. Familiar
13· ·with [inaudible] both are heroin users. One of them is
14· ·a boyfriend. I don't know who he is.
15· · · · OFFICER 2:· He's a -- he says his name is James.
16· ·I don't know. I have no idea, dude. Did he tell you
17· ·his last name at all?
18· · · · OFFICER 4:· No. That's his -- [inaudible] hop in
19· ·the fence?
20· · · · OFFICER 2:· Yeah.
21· · · · OFFICER 4:· You want, uh, something on that right
22· ·now?
23· · · · OFFICER 2:· I'm good now. Waiting for MedStar to
24· ·get here.
25· · · · OFFICER 4:· I can hear them or I thought that was


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   DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
   H, EXHIBIT                                                                    10


·1· ·them.
·2· · · · OFFICER 2:· James, what's your last name?
·3· · · · OFFICER 3:· I think [inaudible] out with a known
·4· ·location or known party might be willing to help.
·5· · · · OFFICER 1:· [Inaudible] here if they know him.
·6· · · · OFFICER 2:· Who? Next door?
·7· · · · OFFICER 1:· Yeah. Check the PD.
·8· · · · OFFICER 2:· Okay.
·9· · · · OFFICER 3:· Do they know him?
10· · · · OFFICER 1:· I don't know if they do or not. I
11· ·would ask them though.
12· · · · OFFICER 2:· I didn't search him at all either.
13· · · · OFFICER 3:· MedStar gets here, we'll get him up.
14· ·And if you can walk [inaudible], if you can't just
15· ·hold him, pat him down. [Inaudible].
16· · · · OFFICER 4:· [Inaudible] we got this.
17· · · · OFFICER 2:· All right. Fucking thumb is swollen
18· ·though.
19· · · · OFFICER 3:· Getting stuck in the fence.
20· · · · OFFICER 2:· Um, may have. I don't know. I know
21· ·when I jumped here, he got caught and I -- get him,
22· ·grabbing his collar and he tried pulling away and I
23· ·just held onto him when he fell down. So that could
24· ·have been from the fence.
25· · · · OFFICER 3:· Yeah.


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    DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
    H, EXHIBIT                                                                    11


·1· · · · OFFICER 2:· He wasn't getting on his stomach
·2· ·either.
·3· · · · OFFICER 3:· I'm trying to get [inaudible]. I’m
·4· ·like what the fuck are you saying. You back off the
·5· ·gas, the light goes out. I can give the gas when the
·6· ·light comes on.
·7· · · · FEMALE:· Hello
·8· · · · OFFICER 1:· Hi.
·9· · · · OFFICER 3:· Hi.
10· · · · FEMALE 2:· Can you just bring [inaudible] or can
11· ·they walk?
12· · · · OFFICER 2:· Well, we're going to see if he can
13· ·walk. If not, we'll have to do with [inaudible].
14· · · · FEMALE 2:· Okay. I wasn't sure if they were just
15· ·sitting there. Are they like, um --
16· · · · OFFICER 2:· He said he took some heroin. He
17· ·swallowed a bunch of heroin before he ran from us.
18· · · · FEMALE 2:· That's what my -- that's what my notes
19· ·said. But is he like with it like?
20· · · · OFFICER 2:· No. He -- he -- he ran for a little
21· ·bit.
22· · · · FEMALE 1:· You want me to hold my hand?
23· · · · OFFICER 2:· You're okay.
24· · · · OFFICER 3:· He was trying to climb over tn here?
25· · · · OFFICER 2:· Yeah. He -- he ran all the way from


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   DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
   H, EXHIBIT                                                                    12


·1· ·the other side of, uh, metro. All the way this way.
·2· · · · OFFICER 3:· Oh -- oh no shit. You got a runner,
·3· ·huh?
·4· · · · OFFICER 2:· Yeah. We got a call of him running
·5· ·through backyards and then we went to stop him and he
·6· ·took off running.
·7· · · · OFFICER 3:· So he was coming from --
·8· · · · OFFICER 2:· Yeah. This way. We -- he didn't -- I
·9· ·was -- I was right behind him the whole way from the
10· ·other -- from uh, Drexel all the way over and he
11· ·didn't toss anything. So you shouldn't expect to find
12· ·anything in her yard.
13· · · · FEMALE 2:· I heard the yelling. [Inaudible].
14· · · · OFFICER 2:· All right. That's enough excitement
15· ·for the morning. Take care, sir.
16· · · · OFFICER 3:· Thank you.
17· · · · OFFICER 1:· He told us, James.
18· · · · FEMALE 2:· Your eye [inaudible] hurt. You hurt
19· ·your eyes. [Inaudible]. Is there any way that we can
20· ·[inaudible]?
21· · · · OFFICER 1:· Yeah. That's fine.
22· · · · FEMALE 2:· Before we buckle him. Get a barrier
23· ·sheet. Hey, listen sir -- sir, it's me. It's not the
24· ·cops. Listen, I'm trying to tell you something. Your
25· ·eye is hurt and I want -- your eye it actually looks


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    DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
    H, EXHIBIT                                                                    13


·1· ·really bad now that you're opening it. Are you having
·2· ·any pain?
·3· · · · OFFICER 1:· We're going to go -- hey Tony, we're
·4· ·going to go right side.
·5· · · · FEMALE 2:· Yeah. You look pretty -- his eye is --
·6· ·did you see it? I mean it's –
·7· · · · OFFICER 1:· Yeah.
·8· · · · FEMALE 2:· It looks like he's going to need a --
·9· ·like an ophthalmology consult.
10· · · · OFFICER 1:· Yeah. Here, sit up.
11· · · · FEMALE 2:· Honey. I want to get you -- I want to
12· ·get an ID on you and get you going. Okay? So it's just
13· ·more a matter of you -- you got a really serious
14· ·injury to your eye. Okay.
15· · · · OFFICER 1:· Now roll them a little more. I'm
16· ·going to let go of your hand.
17· · · · FEMALE 2:· Can you hear me? Yeah. Um, when you
18· ·said that you swallowed heroin, how much did you
19· ·swallow?
20· · · · OFFICER 1:· Do you want both hands to be --?
21· · · · FEMALE 2:· Hmm?
22· · · · OFFICER 2:· Here, he can roll back.
23· · · · FEMALE 2:· Okay. Lay back honey. Your -- your
24· ·hand is -- we're going to -- we're going to try to get
25· ·you. Let's go up -- up -- up -- up. Oops. Slide you


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    DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
    H, EXHIBIT                                                                    14


·1· ·up, honey, before you --
·2· · · · MALE:· Oh.
·3· · · · OFFICER 2:· Oh, here, hold on, hold on, hold on,
·4· ·hold on, hold on.
·5· · · · FEMALE 2:· That's my back.
·6· · · · OFFICER 2:· Leave it. Leave it just like this.
·7· · · · MALE:· Oh.
·8· · · · OFFICER 2:· Leave it just like this.
·9· · · · MALE:· Oh. It doesn't bend that way.
10· · · · FEMALE 2:· Sir. Sir. Here. Come on now.
11· · · · FEMALE 1:· Sorry [inaudible]. I'm not playing
12· ·games [inaudible].
13· · · · OFFICER 1:· Yeah. Could you guys get him situated
14· ·and look at my partner, real quick?
15· · · · FEMALE 1:· What?
16· · · · OFFICER 1:· Look at my partner, real quick.
17· ·[Inaudible].
18· · · · FEMALE 2:· Oh, you hurt yourself?
19· · · · OFFICER 2:· Yeah.
20· · · · FEMALE 2:· Yeah. This is just to go under his
21· ·arms.
22· · · · OFFICER 1:· Just under his arms.
23· · · · FEMALE 2:· Yeah. I know he's handcuffed, but it's
24· ·more so he can't try to get up.
25· · · · OFFICER 1:· [Inaudible] you don't need to explain


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       DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
       H, EXHIBIT                                                                    15


·1· ·anything to me.
·2· · · · OFFICER 3:· My bad.
·3· · · · FEMALE 2:· [Inaudible]. Okay. Sir. Do I need --
·4· ·do I owe you a buckle guard or is that -- that's what
·5· ·we have. Huh?
·6· · · · OFFICER 1:· I got it. I got it.
·7· · · · FEMALE 2:· [Inaudible]. Now up.
·8· · · · OFFICER 1:· I still look good.
·9· · · · OFFICER 2:· I think I'm -- I think I got
10· ·everything.
11· · · · FEMALE 2:· Okay. What's going on with your hands?
12· · · · OFFICER 2:· Some skin sliced open.
13· · · · FEMALE 2:· Do you have any bleeding?
14· · · · OFFICER 2:· Yeah.
15· · · · FEMALE 2:· All right.
16· · · · OFFICER 1:· Probably cut it out [inaudible].
17· · · · FEMALE 2:· Hold on one second. Don't [inaudible].
18· · · · OFFICER 2:· Probably. Yeah.
19· · · · FEMALE 2:· Do me a favor. Put him on the monitor.
20· ·[Inaudible]. I get him some -- just [inaudible].
21
22
23
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     DANIEL REIFF vs OFFICER BROC SETTY                     Confidential, Job 33244
     H, EXHIBIT                                                                  16


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